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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NORTH DAKOTA

Holcim (US) Inc. d/b/a LafargeHolcim,   )
                                        ) ORDER FOR MID-DISCOVERY
              Plaintiff,                ) STATUS CONFERENCE
                                        )
       vs.                              )
                                        )
Killoran Trucking & Brokerage, Inc. and )
Killoran Trucking, LLC,                 )
                                        ) Case No. 1:21-cv-043
              Defendants.               )
______________________________________________________________________________

       IT IS ORDERED:

       A mid-discovery status conference will be held before the magistrate judge on November

17, 2021, at 9:00 AM. The conference will be conducted via telephone conference. To participate

in the conference, counsel shall call the following number and enter the following access code:

       Tel. No.: (877) 810-9415

       Access Code: 8992581

The parties are advised that telephone conferences may be electronically recorded for the

convenience of the Court.

       Dated this 12th day of May, 2021.


                                            /s/ Clare R. Hochhalter
                                            Clare R. Hochhalter, Magistrate Judge
                                            United States District Court
